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Court Nawe: U.S. District Court, Colorad
Oo

Division: 1

Receipt Nueber: COX#12231

Cashier ID: sq

Transaction Date: 98/18/2868

Payer Nase: COLORADO DEPT OF CORRECTIONS

WRIT OF HABEAS CORPUS
Fors RANDY GASPEN
Amount: $5.08

HONEY ORDER
Check/Money Order Num: 88892557533
Amt Tendered: $5,088

Total Due: $5.86
Total Tendered: $5.68
Change Amt: $8.88

88-CV-1749

A fee of $45.08 will be assessed on
any teturned check,
